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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF INDIANA
                             EVANSVILLE DIVISION

  LYNNETTE J. KAISER, et al.,

                     Plaintiffs,

              v.                                  No. 3:20-cv-278-RLY-CSW

  ALCOA USA CORP., et al.,

                     Defendants.




              DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF
                MOTION TO STAY INJUNCTION PENDING APPEAL
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                                          INTRODUCTION

         On March 28, 2025, the Court entered final judgment for Plaintiffs and issued a

  permanent injunction ordering Alcoa USA Corp. (“Alcoa”) to reinstate and maintain the prior

  retiree healthcare benefits plan for the Class Members. Defendants subsequently filed a notice of

  appeal of this case to the Seventh Circuit. ECF No. 183. Because implementing the injunction

  prior to the Seventh Circuit’s review would result in irreparable harm to Defendants, Defendants

  respectfully ask the Court to stay the injunction pending their appeal.

         All of the requisite factors support granting a stay. Most importantly, Defendants will be

  irreparably harmed if the injunction remains in place. Alcoa will be forced to pay substantial

  sums in order to reinstate and maintain the prior benefits plan for the Class Members, but will be

  unable to recover those costs in the event that Defendants prevail on appeal. In contrast, a stay

  will not substantially harm Plaintiffs; to the contrary, it would protect Class Members from the

  risk of being ping-ponged from one healthcare plan to another and back again. Moreover, the

  public interest also supports a stay. There is no public interest in enforcing an injunction against

  a party that was wrongly estopped from arguing its case on the merits, or that restores benefits

  that were lawfully modified pursuant to the parties’ agreements.

         Finally, there is a reasonable likelihood that the Seventh Circuit will reverse the Court’s

  order granting summary judgment for Plaintiffs. It is respectfully submitted that the Court erred

  when it concluded that Defendants are judicially estopped from arguing their position in this case

  based on Alcoa’s purported position in Curtis v. Alcoa, Inc., No. 06-cv-448 (E.D. Tenn.).

  Because of the harsh results attendant with precluding a party from asserting a position that

  would normally be available to them, the rule in the Seventh Circuit is that judicial estoppel must

  be applied both narrowly and cautiously. See, e.g., Levinson v. United States, 969 F.2d 260, 264


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  (7th Cir. 1992). However, the Court’s ruling overread the Curtis record and overlooked

  dispositive issues of fact and law. Accordingly, the Court should grant Defendants’ motion and

  stay the injunction pending appeal.

                                          BACKGROUND

         The named Plaintiffs are two labor unions (United Steel, Paper and Forestry, Rubber,

  Manufacturing, Energy, Allied Industrial and Service Workers International Union, AFL-

  CIO/CLC (the “USW”) and Aluminum Trades Council of Wenatchee, Washington AFL-CIO

  (the “ATC”) (together, the “Unions”)) and one spouse of a deceased retiree of Alcoa.

         Alcoa had previously sponsored a supplemental Medicare fixed group healthcare plan

  (the “Prior Plan”) for some of its hourly retirees and their surviving spouses and dependents. Ex.

  A, First Decl. of Tiffany Ackerman ¶ 2 (“First Ackerman Decl.”). In 2019, Alcoa decided to

  transition certain hourly retirees, surviving spouses, and dependents from the Prior Plan to

  individual plans effective January 1, 2021. Id. ¶ 7. Under the new arrangement, Alcoa provides

  funds through a Health Reimbursement Account (“HRA”). Id. Individuals use the HRA funds

  to purchase a healthcare plan through an exchange and pay for qualified medical expenses, such

  as premiums or out-of-pocket medical costs like a deductible or copayment. Id.

         On December 10, 2020, Plaintiffs filed this class action lawsuit to stop Alcoa from

  transitioning to the HRA Plan any retirees the Unions had formerly represented when they were

  employees of Alcoa. Plaintiffs alleged that the transition to the HRA Plan breached the terms of

  contracts between Alcoa and the Unions and violated the Employee Retirement Income Security

  Act of 1974 (“ERISA”). Pls.’ Compl. ¶¶ 8-10, ECF No. 1. Plaintiffs sought to represent a class

  meant to encompass every affected retiree represented by the Unions during their employment,

  as well as eligible spouses and dependents. Pls.’ Mot. to Certify Class, ECF No. 81. On


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  September 29, 2022, the Court certified the class. ECF No. 108. According to Alcoa’s records

  at the time of certification, there were 3,153 Class Members. Ex. A, First Ackerman Decl. ¶ 12.

         On March 25, 2024, the Court granted Plaintiffs’ Motion for Partial Summary Judgment.

  See Entry Granting Pls.’ Partial Mot. for Summ. J., ECF No. 166 (the “Order”). The basis for

  the Court’s ruling was that “the doctrine of judicial estoppel prohibits Alcoa from arguing the

  retirees do not have lifelong healthcare benefits.” Id. at 6-7. The Court held that Defendants are

  judicially estopped based on Alcoa’s purported position in Curtis v. Alcoa, Inc., which was

  initially filed against Alcoa in the U.S. District Court for the Eastern District of Tennessee in

  2006. See Order at 9. The Court did not order any remedies against Defendants.

         On March 28, 2025, the Court entered final judgment for Plaintiffs and ordered

  declaratory and injunctive relief. See Final Judgment, ECF No. 182; Order Granting Permanent

  Injunction, ECF No. 181 (“Injunction Order”). The Court declared “class members are entitled

  to lifetime healthcare benefits from Alcoa” and entered a permanent injunction that “Alcoa must

  promptly reinstate and maintain for the lifetime of all class members the fixed group health and

  prescription drug benefit plan, including Medicare Part B premium reimbursement . . . to class

  members before January 1, 2021.” Injunction Order at 1. The Court also ordered that “the Prior

  Plan shall be reinstated retroactive to January 1, 2021,” explaining that this means “[c]lass

  members are entitled to submit for payment claims for health and prescription drug expenses

  incurred from January 1, 2021, through the time Alcoa reinstates the Prior Plan.” Id.

                                             ARGUMENT

         Defendants have filed a notice of appeal of this case to the Seventh Circuit. ECF No.

  183. Because implementing the injunction prior to the Seventh Circuit’s review would result in

  irreparable harm to Defendants, they respectfully ask the Court to stay the injunction pending


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  their appeal pursuant to Fed. R. Civ. P. 62(d). “Stays . . . are necessary to mitigate the damages

  that can be done during the interim period before a legal issue is finally resolved on its merits.”

  In re A&F Enters., Inc. II, 742 F.3d 763, 766 (7th Cir. 2014). To determine whether to stay an

  injunction, courts consider four factors:

         (1) The likelihood the applicant will succeed on the merits of the appeal;
         (2) whether the applicant will be irreparably injured absent a stay; (3) whether
         issues of the stay will substantially injure other parties; and (4) the public interest.

  Common Cause Indiana v. Lawson, 978 F.3d 1036, 1039 (7th Cir. 2020). “The standard calls for

  equitable balancing, much like that required in deciding whether to grant a preliminary

  injunction,” but the “first two factors are most critical.” Id. All four factors support a stay here.

  I.     Defendants will suffer irreparable harm without a stay of the injunction.

         Whether the applicant will be irreparably harmed absent a stay is one of the “most

  critical” factors. Id. at 1039. Harm is “irreparable” where it “cannot be repaired, retrieved, put

  down again, [or] atoned for.” Graham v. Med. Mut. of Ohio, 130 F.3d 293, 296 (7th Cir. 1997)

  (citations omitted). Defendants will be irreparably harmed absent a stay because Alcoa will be

  forced under the injunction to pay substantial sums it will be unable to recover if Defendants

  prevail on appeal.

         The injunction ordered by the Court will require Alcoa to promptly reinstate and maintain

  the Prior Plan for the lifetime of all Class Members, including Medicare Part B premium

  reimbursement, and further allow Class Members “to submit for payment claims for health and

  prescription drug expenses incurred from January 1, 2021 through the time Alcoa reinstates the

  Prior Plan.” See Injunction Order at ¶¶ 1-2. Alcoa estimates that the obligation to reinstate and

  maintain the Prior Plan will cost Alcoa approximately $6,225 per class member per year. Ex. B,

  Second Declaration of Tiffany Ackerman ¶ 3. Significantly, although the Class Members will be


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 the beneficiaries of the healthcare coverage, the money paid by Alcoa to reinstate and maintain

 the Prior Plan would not be paid to the Class Members. Id. ¶¶ 3-4. Alcoa is not a healthcare

 provider; it is an employer sponsoring the healthcare plan. Id. Alcoa will therefore need to pay

 premiums and fees to various third parties to administer the benefits, as well as administrative

 expenses through its benefits department and to other third-party vendors. Id. ¶¶ 3-5. It will not

 be possible to later recover these expenses paid to third parties if Defendants prevail on appeal

 and the injunction is vacated.

        In addition to maintaining the Prior Plan going forward, the injunction also requires

 Alcoa to pay any past due benefits directly to the Class Members, as well as Medicare Part B

 premium reimbursements. Alcoa will have little, if any, recourse to recoup these payments from

 Class Members. Any available recourse would likely involve undesirable individual actions

 against Class Members, which would be a costly burden to such parties and Alcoa.

        Thus, because Alcoa is unlikely to recover the costs of its obligations under the

 injunction, Defendants will suffer irreparable harm in the absence of a stay pending appeal. See

 Cal. v. Azar, 911 F.3d 558, 581 (9th Cir. 2018) (party’s inability to recover their economic losses

 during the pending litigation constituted irreparable harm); O’Brien v. Appomattox Cnty., 71 F.

 App’x 176, 178 (4th Cir. 2003) (same); Iowa Utils. Bd. v. F.C.C., 109 F.3d 418, 426 (8th Cir.

 1996) (same); Cohen v. Minneapolis Jewish Fed’n, No. 16-cv-325, 2018 WL 6191046, at *1

 (W.D. Wis. Nov. 28, 2018) (irreparable harm where absent a stay, if funds in dispute were

 distributed to third parties, there would be no way for them to be recovered); Ill. Bell Tel. Co. v.

 Hurley, No. 05 C 1149, 2005 WL 735968, at *7 (N.D. Ill. Mar. 29, 2005) (party demonstrated

 irreparable harm where there was no entity against which monetary damages could be

 recovered).


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 II.    A stay of the injunction will not substantially harm Plaintiffs.

        Next, Plaintiffs and the Class Members will not experience substantial harm if the

 injunction is stayed. See Common Cause, 978 F.3d at 1039. For one thing, aside from the single

 named individual Plaintiff, Lynette Kaiser (a spouse of a retiree), there is no evidence that any

 Class Member wants the reinstatement of the Prior Plan. In fact, the evidence indicates that

 Class Members want the opposite. In the three-and-a-half years since the transition to the HRA

 Plan, Alcoa’s benefits administration has not received any complaints from Class Members who

 enrolled in the HRA Plan that their claims covered under the Prior Plan are no longer covered.

 See Defs.’ Resp. to Pls.’ Mot. for Entry of Order of J. at 9-10, ECF No. 170. This is not

 surprising, because the HRA Plan offers them more options (and in many cases, better coverage)

 than the Prior Plan, allowing Class Members to tailor their coverage to suit their unique

 healthcare needs and circumstances. See id. at 3-4. Accordingly, most Class Members are

 already enjoying enhanced healthcare benefits under the HRA Plan.

        Insofar as Plaintiffs argue that the HRA Plan is not as good in some ways or that some

 Class Members did not enroll in the HRA Plan, any costs incurred by Class Members will, if the

 Seventh Circuit affirms this Court’s judgment, be able to be monetized and compensated either

 through the injunction’s provisions for payment of back claims with interest or through an award

 of money damages. Thus, any possible harm to Class Members through staying the injunction

 could be remedied by monetary damages or the functionally equivalent retrospective relief built

 into the injunction itself. See Solis v. Tenn. Com. Bancorp, Inc., No. 10-5602, 2010 WL

 11187001, at *1 (6th Cir. May 25, 2010) (balancing of harms supported stay pending appeal;

 injunction would cause disruption to the defendants’ operation and personnel “that cannot be

 undone,” while the plaintiff could be made whole by award of compensatory damages, back pay


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 and interest). Nothing more is needed to “secure [Plaintiffs’] rights” pending appeal. Fed. R.

 Civ. P. 62(d). And if the Seventh Circuit reverses the Court and vacates the injunction, then

 Plaintiffs will have incurred no harm whatsoever as they will not have been entitled to the

 benefits in the first place.

         In contrast, the denial of a stay would threaten Class Members with significant harm:

 potentially transitioning them from the current HRA Plan to the rebooted Prior Plan and then

 back again should Defendants succeed on appeal (and possibly thereafter, on remand, again

 moved back to the Prior Plan if another such injunction is entered, and again moved back to the

 HRA Plan if the decision is vacated on appeal, and so on). Such shifting back-and-forth between

 the Prior Plan and the HRA Plan, and the resulting rounds of communication, will likely result in

 confusion and frustration on the part of the Class Members, as well as unnecessary costs. There

 is no reason to risk such harmful whiplash.

 III.    The public interest favors a stay pending appeal.

         The public interest also supports a stay. See Deutsche Bank Nat’l Tr. Co. v. Cornish, 759

 F. App’x 503, 506 (7th Cir. 2019) (a stay of an injunction pending appeal is appropriate when the

 public interest lies in favor of such a stay). As explained below, the Court erred when it held that

 Plaintiffs are entitled to vested retiree healthcare benefits because Alcoa is judicially estopped

 from arguing otherwise. See infra at IV. There is no public interest in requiring Alcoa to restore

 benefits that were lawfully modified or in enforcing a contract in a manner inconsistent with its

 plain language. It is well-recognized that “there is a public interest in enforcing valid contracts.”

 Bucciarelli-Tieger v. Victory Recs., Inc., No. 06 C 4258, 2007 WL 1498910, at *4 (N.D. Ill. May

 17, 2007); see also FreemantleMedia-Ltd. v. Colmar, Ltd., No. 01 C 7733, 2001 WL 1360432, at

 *2 (N.D. Ill. Nov. 5, 2001) (moving parties had “the public interest firmly in their favor” because


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 “the public has no interest in enforcing agreements that do not exist”). Moreover, there is no

 public interest in enforcing an injunction against a party that was wrongly estopped from having

 its day in court to make its case on the merits. Nor is there public interest in risking harm to the

 Class Members from being potentially moved from one healthcare plan to another and back.

 Thus, consideration of the public interest favors the grant of a stay.

 IV.      Defendants have a reasonable likelihood of succeeding on their appeal.

          Finally, Defendants respectfully submit that there is a reasonable likelihood that the

 Seventh Circuit will reverse the Court’s decision granting summary judgment for Plaintiffs on

 the basis of judicial estoppel. See Common Cause, 978 F.3d at 1039. Judicial estoppel is an

 equitable doctrine that “prevents a party that has taken one position in litigating a particular set

 of facts from later reversing its position when it is to its advantage to do so.” Levinson, 969 F.2d

 at 264. “The principle is that if you prevail in Suit #1 by representing that A is true, you are

 stuck with A in all later litigation growing out of the same events.” Astor Chauffeured

 Limousine Co. v. Runnfeldt Inv. Corp., 910 F.2d 1540, 1547 (7th Cir. 1990).

          While the Seventh Circuit has not identified an “exhaustive formula,” several factors are

 typically applied: (1) “a party’s later position must be clearly inconsistent with its earlier

 position”; (2) “whether the party has succeeded in persuading a court to accept that party’s

 earlier position, so that judicial acceptance of an inconsistent position in a later proceeding

 would create the perception that either the first or the second court was misled”; and

 (3) “whether the party seeking to assert an inconsistent position would derive an unfair

 advantage or impose an unfair detriment on the opposing party if not estopped.” Walton v. Bayer

 Corp., 643 F.3d 994, 1002 (7th Cir. 2011) (internals omitted). 1


 1
  An additional “clear prerequisite[]” the Seventh Circuit has identified is that the “the facts at issue should be the
 same in both cases.” 1st Source Bank v. Neto, 861 F.3d 607, 612 (7th Cir. 2017) (quotation omitted). While the
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          Applying these factors, the Court held that Defendants are judicially estopped from

 arguing their position in this case based on Alcoa’s purported position in Curtis v. Alcoa, Inc.

 See Order at 9. Curtis concerned the 1993 Cap Agreement and its bargaining history, under

 which Alcoa and the USW had agreed that Alcoa’s healthcare contributions to certain future

 post-1993 retirees would be “capped” at a future date. See Curtis, No. 06-cv-448, 2011 WL

 850410, at *1 (E.D. Tenn. Mar. 9, 2011). The 1993 Cap Agreement was included in every

 subsequent post-1993 collective bargaining agreement (“CBA”) in the form of a “Cap Letter.”

 Id. In 2006, Alcoa and the USW agreed to implement the Cap with respect to employees retired

 after May 31, 1993. Id. Soon thereafter, the Curtis lawsuit was brought by a group of Alcoa

 retirees who had retired between 1993 and 2006 seeking to stop Alcoa from applying the Cap to

 their healthcare benefits. Id. The plaintiffs argued that the Cap Letters attached to the 1993,

 1996, and 2001 CBAs under which they had retired—clearly stating that Alcoa had the right to

 engage the Cap—were invalid and had no effect. Id. Following a bench trial in 2009, the Curtis

 court held that “Alcoa did not breach its contracts with the plaintiffs,” id. at *55, and ordered that

 “the plaintiffs shall take nothing” and dismissed the case with prejudice, see Judgment Order,

 Curtis, ECF No. 524.

          After analyzing the Curtis record both in the lower court and on appeal, the Court

 determined that Alcoa made several statements in Curtis “representing that retiree health benefits

 were guaranteed for life.” Order at 9-10. The Court concluded that “Alcoa is barred from

 arguing pre-1993 retirees do not have lifetime healthcare benefits” in this case on the basis of

 judicial estoppel, and held that “[a]ccordingly, the class has established, as a matter of law, that

 they had a right to lifetime healthcare benefits from Alcoa.” Id. at 16.


 Court did not discuss this requirement, it also precludes judicial estoppel here. As explained below, the facts that
 controlled the outcome of Curtis had nothing to do with those material to the rights of the Class Members here.
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        However, the Court’s analysis misread the Curtis record and overlooked dispositive

 issues of fact and law, creating a reasonable prospect that its decision will be reversed by the

 Seventh Circuit. As set forth below, there are no statements by Alcoa that were clearly

 inconsistent with this case so as to trigger judicial estoppel, none of Alcoa’s purported statements

 were relied on by the Curtis court in rendering its judgment (including its dictum that the Curtis

 class members’ capped benefits were vested), and Alcoa would not derive an unfair advantage if

 it were not judicially estopped, nor would Plaintiffs incur an unfair detriment. Fundamentally,

 Alcoa cannot be “stuck with” the proposition that pre-1993 retirees have vested benefits, or the

 broader proposition that all retirees have vested benefits, because it did not “prevail in” Curtis

 (nor could it have) “by representing that” either of those propositions “is true.” Astor, 910 F.2d

 at 1547.

        A.      The Court applied a version of judicial estoppel that is incongruent with
                Seventh Circuit precedent.

        As an initial matter, the Court erred by applying an overly punishing version of judicial

 estoppel. The rule in the Seventh Circuit is that judicial estoppel must be applied both narrowly

 and cautiously because of the harsh results attendant with precluding a party from asserting a

 position that would normally be available to them. See Levinson, 969 F.2d at 265 (judicial

 estoppel must be “applied with caution to avoid impinging upon the truthseeking function of the

 court.” (quotation omitted)). As put by this Court in another case, “[j]udicial estoppel must be

 applied with caution and in the narrowest of circumstances and with clear regard for the facts

 in the particular case.” Eli Lilly and Co. v. Valeant Pharms. Int’l, No. 08-cv-1720, 2011 WL

 573761, at *4 (S.D. Ind. Feb. 15, 2011) (Walton Pratt, J.) (emphasis added). Indeed, judicial

 estoppel is “strong medicine,” which “has led courts and commentators to characterize the

 grounds for its invocation in term redolent of intentional wrongdoing.” Chaveriat v. Williams

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 Pipe Line Co., 11 F.3d 1420, 1428 (7th Cir. 1993); see also Jarrard v. CDI Telecomms., 408

 F.3d 905, 915 (7th Cir. 2005) (rejecting judicial estoppel where party prevailed twice on

 diametrically incompatible positions because, “though facially inconsistent, [they] were not an

 attempt to play ‘fast and loose’ with the court, and thus the broad antifraud purpose of judicial

 estoppel does not come into play”).

        The Court did not acknowledge this case law cautioning reluctance to impose the harsh

 remedy of judicial estoppel. Moreover, the Court failed to heed its obligation at summary

 judgment to view the record in the light most favorable to Defendants and draw all reasonable

 inferences in their favor. See Zerante v. DeLuca, 555 F.3d 582, 584 (7th Cir. 2009). Instead, the

 Court made repeated inferences against Defendants when an alternative view of the record was

 equally (if not more) plausible. As a result, the Court applied a version of judicial estoppel at

 summary judgment that is incongruent with Seventh Circuit precedent.

        B.      Alcoa’s position in this case is not “clearly inconsistent” with its position in
                the Curtis litigation.

        Most fundamentally, for judicial estoppel to apply, the party to be estopped must have

 taken a position “clearly inconsistent with its earlier position.” United States v. Hook, 195 F.3d

 299, 306 (7th Cir. 1999). This is a high standard—judicial estoppel cannot be applied “where

 there is only an appearance of inconsistency between the two positions.” Menominee Indian

 Tribe of Wisconsin v. Thompson, 922 F. Supp. 184, 208 (W.D. Wis. 1996) (emphasis added). In

 applying this factor, the Court determined that Defendants’ position in this case—that retiree

 healthcare benefits for the Class Members are not vested for life—is “clearly inconsistent” with

 several representations by Alcoa in Curtis that the Court characterized as “representing that

 retiree health benefits were guaranteed for life.” Order at 9-11. However, the Court

 misinterpreted the Curtis record and elevated unfounded inferences and out-of-context

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 statements above clear and express statements by Alcoa showing that its position in Curtis was

 fully consistent with its position in this case.

                 i.      Alcoa’s clear and express position in Curtis was that the post-1993
                         retirees did not have vested healthcare benefits.

         Contrary to the Court’s conclusion, the Curtis record shows that Alcoa’s clear and

 express position was that the post-1993 retirees in that case were not promised vested healthcare

 benefits either before or after retirement. Alcoa repeatedly expressed this position in virtually

 every substantive filing in Curtis:

         •   Alcoa’s Answer to Plaintiffs’ Amended Complaint ¶ 91, ECF No. 11: “Alcoa admits
             that Plaintiffs do not have vested welfare benefits and that it is entitled to amend
             those benefits.”

         •   Alcoa’s Response to the Plaintiffs’ Motion for Preliminary Injunction at 2, ECF No.
             64: “Plaintiffs have no ‘vested’ right to free medical care for life, as they contend.
             Rather, the relevant labor agreements are clear on their face that Alcoa had the right
             to engage the Cap.”

         •   Alcoa’s Oral Argument in Support of Summary Judgment at 52, ECF No. 379: “If
             there’s any vesting at all here, your honor—we’d submit that the record demonstrates
             that you can’t find as a matter of law, respectfully, that there is.”

         •   Alcoa’s Proposed Findings of Fact and Conclusions of Law at 75, ECF No. 507-2:
             “Although the issue is unnecessary, as discussed below, for a decision on whether
             Plaintiffs’ benefits vested upon retirement, Alcoa’s position is that retiree medical
             benefits do not vest.”

         Indeed, even the plaintiffs in Curtis understood that Alcoa’s position was always that the

 post-1993 retirees’ healthcare benefits were not vested:

         Throughout this litigation at each and every stage of these proceedings the Plaintiffs
         consistently asserted that their health care benefits were vested lifetime benefits.
         The Defendant consistently denied it.

 Pls.’ Mem. of Law Supp. Mot. for Clarification and/or Amendment of the J. Order at 1, Curtis,

 ECF No. 526 (emphasis added).



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          Context is key to understanding Alcoa’s position and statements. The dispute in Curtis

 was fundamentally about the level of benefits due to the post-1993 retirees—i.e., whether Alcoa

 could lawfully engage the Cap. After Alcoa engaged the Cap pursuant to the 1993 Cap

 Agreement, the capped retirees brought the Curtis lawsuit to compel Alcoa to revert them back

 to uncapped benefits. To prevail on that claim, they needed to establish vested rights in

 uncapped benefits. Accordingly, their claim failed either if they had no vested retiree healthcare

 benefits rights at all or if any vested benefits were lawfully capped—either way, Alcoa would

 not be in breach of any obligations to the Curtis class. Thus, Alcoa argued that the Curtis class

 members had no vested healthcare benefits rights at all (an argument that, if accepted, would

 have ended the case), and also correctly pointed out that the issue was “unnecessary” because

 even if the class members’ healthcare benefits vested at retirement, they were at most vested in

 capped benefits, allowing Alcoa to lawfully engage the Cap. Alcoa’s Proposed Findings of Fact

 and Conclusions of Law at 75, Curtis, ECF No. 137-8.

          Additionally, when viewing the Curtis record amid the backdrop of this case, it is crucial

 to remember that the Class Members in this case and their contracts and retiree healthcare

 benefits were not even at issue in Curtis. This is because Curtis concerned the level of

 healthcare benefits for post-1993 retirees, while this case concerns the introduction of the HRA

 Plan in 2019 for a different group of retirees who retired before 1993 under different CBAs with

 different bargaining histories and whose healthcare benefits were never subject to the Cap

 Agreement or capped. All of Alcoa’s statements in Curtis must be read in this essential

 context—Alcoa was at all times asserting positions with respect to the post-1993 retirees only. 2


 2
   Relatedly, Curtis and this case do not involve “the same” operative facts, which, under Seventh Circuit precedent,
 precludes using Curtis to judicially estop Alcoa here. Neto, 861 F.3d at 612; see also Astor, 910 F.2d at 1547
 (explaining that, for judicial estoppel to apply, the suits must “grow[] out of the same events”). To the extent that
 Curtis turned on the bargaining parties’ intent regarding lifetime vesting in the post-1993 CBAs at issue there, that
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 The implausibility of Alcoa taking a position in Curtis as to the healthcare benefits of the Class

 Members here (an entirely different population of retirees with different contracts) underscores

 why the Court’s conclusion lacks merit.

                   ii.      Alcoa did not take the “alternative” position that benefits are vested.

           The Court’s judicial estoppel analysis briefly acknowledged that Alcoa expressed the

 position in Curtis that “no retiree received lifetime healthcare benefits,” but then brushed this

 fact aside by claiming that Alcoa “argued both positions in the alternative and, in doing so,

 maintained both positions before the Curtis district court.” Order at 13. The Court further stated

 that “[b]ecause it was Alcoa’s argument that retirees had lifetime, capped healthcare benefits that

 persuaded the Curtis court, judicial estoppel locks Alcoa into that position.” Id. (emphasis

 added). Setting aside for now the issue of whether the Curtis court was “persuaded” by Alcoa’s

 purported vesting argument (as explained below, it was not, see infra at 22-25), the Court’s

 finding that Alcoa argued both positions in the alternative is wrong and misunderstands the

 record.

           The Court did not provide any supporting citation, but it appears to have been relying on

 Alcoa’s argument that “[e]ven if Plaintiffs’ benefits vested upon retirement, the benefits would

 have vested with the cap already in place.” Alcoa’s Proposed Findings of Fact and Conclusions

 of Law at 79, Curtis, ECF No. 137-8. However, this does not mean that Alcoa took the

 alternative position that the Curtis class members’ benefits were, in fact, vested. Its position was

 that those benefits were not vested (as explained above), but that if the court rejected that

 argument and found that benefits were vested, the class was still not entitled to relief, because

 the benefits were nevertheless capped. In other words, Alcoa used the common “assuming


 issue is not the same, and does not arise from the same facts, as the bargaining parties’ intent regarding lifetime
 vesting in the entirely different set of pre-1993 CBAs that are relevant in this case.
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 arguendo” legal argument that allows a party to examine the conclusion of premises without

 admitting that these premises could be true, in order to show that the issue of whether benefits

 vested upon retirement was ultimately pointless in Curtis because it would have the same legal

 effect with regard to the enforceability of the Cap.

         Alcoa’s filings were clear on this point. In its Proposed Findings of Fact and Conclusions

 of Law (“Proposed Findings”) following the bench trial, Alcoa told the court that “although the

 issue is unnecessary, for a decision on whether plaintiffs’ benefits vested upon retirement,

 Alcoa’s position is that retiree medical benefits did not vest.” Alcoa’s Proposed Findings at 75,

 Curtis, ECF No. 137-8 (emphasis added). Alcoa then spent several pages explaining why “the

 evidence does not support Plaintiffs’ contention that retiree medical benefits are vested” based

 on Sixth Circuit case law, the language of the contracts, and relevant testimony. Id. at 75-77.

 Then, Alcoa stated that “even if plaintiffs’ benefits vested upon retirement, the benefits would

 have vested with the cap already in place.” Id. at 79-88 (emphasis added).

         In making this argument, Alcoa was careful to ensure that the Curtis court was never

 under the impression that Alcoa believed that benefits were vested. For example, at the

 summary judgment oral arguments, Alcoa’s attorney told the court that he was “going to cover

 the question of vesting” and “the question of what happens if your honor were to decide, we

 believe, respectfully, contrary to the record here, that the benefits in questions did vest . . . .”

 Summ. J. Tr. at 38, Curtis, ECF No. 379 (emphasis added); see also id. at 52 (“If there’s any

 vesting at all here, your honor—we’d submit that the record demonstrates that you can’t find as a

 matter of law, respectfully, that there is.”). Thus, the Court erred when it held that Alcoa took

 the position “in the alternative” that benefits were vested. Resting judicial estoppel on this sort

 of arguendo position is, to Defendants’ knowledge, unprecedented.


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                iii.    The Court erroneously relied on unsupported inferences and out-of-
                        context statements by Alcoa.

        In contrast to Alcoa’s clear and express statements and arguments that healthcare benefits

 for the post-1993 retirees were not vested, the Court concluded that Alcoa “represented that

 retiree health benefits” for the Class Members “were guaranteed for life” based on unsupported

 inferences and out-of-context statements. Order at 10. Examining each statement relied on by

 the Court shows that its reading is incorrect and has no support in the text or context.

        First, the Court purported to draw support from Alcoa’s brief in opposition to the

 plaintiffs’ preliminary injunction motion, where Alcoa stated that “plaintiffs here seek to receive

 benefits as if they had retired before June 1, 1993.” Alcoa’s Opp. to Pls.’ Mot. for Prelim. Inj. at

 22, Curtis, ECF No. 64 (“Alcoa’s Prelim. Inj. Opp.”). The Court inferred that this statement

 “necessarily implies that pre-1993 retirees had lifetime, uncapped benefits” because the plaintiffs

 in Curtis “were seeking lifetime, uncapped benefits.” Order at 9 (emphases added).

        This reading is not reasonable and has no support in the text. The excerpt highlighted by

 the Court is not taking a position on anything related to whether pre-1993 retirees had vested

 lifetime benefits. Context shows that Alcoa’s brief was simply characterizing how the plaintiffs

 were framing their argument that the 1993 Cap Agreement did not apply to them:

        Plaintiffs here seek to receive benefits as if they had retired before June 1, 1993.
        By definition, however, they did not. Employees have no right to the benefits
        under a CBA that expired prior to the date of their retirement. See Prater v. Ohio
        Educ. Ass’n, No. 2:04CV1077, 2006 WL 2815142, at *9 (S.D. Ohio Sept. 28, 2006)
        (“the Sixth Circuit’s decision in Maurer makes clear that the provisions in effect at
        the time of retirement control the issue of whether there was an intent to vest”).

 Alcoa’s Prelim. Inj. Opp. at 22, Curtis, ECF No. 64 (emphasis added) (citation omitted). Alcoa’s

 point was just that the post-1993 retirees’ rights to benefits were governed by the CBAs with the




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 Cap Agreement, not the earlier, pre-1993 CBAs without the Cap Agreement. That simple point

 did not imply that either set of the retirees’ benefits were vested for life.

         The Court’s reading also ignored the context. Again, the ultimate issue in Curtis was

 whether the post-1993 retirees were entitled to uncapped benefits. Vesting vel non was simply

 not relevant in the abstract; it mattered only insofar as it was relevant to the legality of the Cap.

         Second, the Court erroneously relied on a similar statement by Alcoa’s attorney at the

 summary judgment oral argument that “[p]laintiff’s theory is that this cap letter had no effect

 whatsoever, that the rights of the people who retired after 1993 are exactly the same as the rights

 of people who retired before 1993.” Order at 3; 9-10 (quoting Summ. J. Tr. at 59:12-14, Curtis,

 ECF No. 379). The Court interpreted this to mean that “Alcoa took the position . . . that without

 the cap, ‘the rights’ of pre- and post-1993 retirees ‘are the same,’ (i.e., the only difference

 between pre- and post-1993 retirees was the cap).” Id. at 10. The Court held this was another

 statement by Alcoa that “implies that pre-1993 retirees had lifetime, uncapped benefits.” Id. at 9.

         However, like before, that does not follow. Alcoa’s attorney was simply characterizing

 the plaintiffs’ argument that the 1993 Cap Agreement had no effect, and explaining that it was

 the plaintiffs’ theory (not Alcoa’s) that pre-1993 and post-1993 retirees’ rights were “the same”:

         Now there’s really no dispute that the Cap Letter is part of the CBA and enforceable
         on both sides. . . . The question then is, if it’s part of the CBA, what is its effect?
         Plaintiffs’ theory is that this Cap Letter had no effect whatsoever, that the rights of
         the people who retired after 1993 are exactly the same as the rights of people who
         retired before 1993. They say the fact that you have attached this to the back of the
         CBA is irrelevant; the rights are the same as if it had never been there at all.

 Summ. J. Tr. at 59:6-17, Curtis, ECF No. 379 (emphases added). Inferring from this statement

 that Alcoa took the position that the “only difference between pre- and post-1993 retirees was the

 cap” is not a reasonable way to read the language, nor does it imply that Alcoa took the position

 that retirees had vested lifetime benefits. To be sure, Alcoa believed that the Cap distinguished

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 pre-1993 from post-1993 retirees, but the critical point is that Alcoa never took the position that

 either set of retirees was entitled to vested benefits. 3

          Third, the Court similarly erred by relying on the statement by Alcoa’s attorney at the

 summary judgment oral argument that “Alcoa’s paying almost $8,000 per person pre-Medicare.

 We’ll continue to do that for the rest of their lives.” Order at 10 (quoting Summ. J. Tr. at 72:21-

 22, Curtis, ECF No. 379). The Court read this to mean that “Alcoa represented that retiree

 health benefits were guaranteed for life.” Id. But the most reasonable interpretation of this

 statement is that he was not talking about a contractual obligation to provide lifetime benefits to

 the post-1993 retirees (i.e., vested benefits); he meant that Alcoa intended to continue to

 voluntarily provide benefits at the agreed capped level for the rest of the Curtis retirees’ lives.

 This is the only logical reading because, as explained, Alcoa’s attorney argued extensively at the

 same oral argument that the benefits were not vested for life. See Summ. J. Tr. at 37-58, Curtis,

 ECF No. 379. It would be absurd for him to turn around minutes later and casually admit that

 benefits were vested, and nothing in the record shows that the Curtis court or the plaintiffs

 interpreted his statements as such an admission.

          The attorney’s statements are further explained by the terms of the 1993 Cap Agreement.

 An essential part of the Cap Agreement was that the healthcare benefits for the capped retires

 would be a “mandatory” subject of the next round of bargaining between Alcoa and the USW,

 which to this day permits the USW to strike over proposed changes to the healthcare benefits of

 the capped retirees. See Alcoa’s Prelim. Inj. Opp. at 17, Curtis, ECF No. 64. The significance of


 3
   Notably, the Court also relied on this misreading to erroneously conclude that all of Alcoa’s statements in Curtis as
 to the post-1993 retirees also applied to the pre-1993 Class Members in this case. See Order at 11 (“Alcoa quite
 clearly explained in Curtis that it believed there to be a singular difference between pre-1993 and post-1993 retirees:
 the cap. If, as Alcoa represented to the Curtis court, post-1993 retirees have lifetime healthcare benefits, Alcoa
 necessarily represented that pre-1993 retirees had lifetime healthcare benefits because, according to Alcoa, the only
 difference between the two groups was the presence of the cap for post-1993 retirees.”).

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 this fact cannot be overstated. Ordinarily, the healthcare benefits of existing retirees are a

 “permissive” subject of bargaining, preventing the USW from calling a related strike under

 federal labor law. See Allied Chem. & Alkali Workers v. Pittsburgh Plate Glass, 404 U.S. 157,

 176-82 (1971). Thus, the practical result of the 1993 Cap Agreement was that Alcoa could not

 change the benefits of the capped post-1993 retirees without the USW’s agreement (lest risking a

 strike). Indeed, in this case, Alcoa did not introduce the HRA Plan for the capped post-1993

 retirees for this very reason. Accordingly, the statement by Alcoa’s attorney can only be

 properly understood in this context (and at most, the meaning is a question of fact that precludes

 summary judgment). See, e.g., In re Advanced Telecomm. Network, Inc., No. 03-bk-299, 2016

 WL 6407366, at *2 (Bankr. M.D. Fla. Oct. 28, 2016) (“Judicial estoppel issues are intensely

 factual and rarely are subject to resolution by summary judgment.”). 4

          Fourth and finally, the Court gave undue weight to language from Alcoa’s brief in

 opposition to the plaintiffs’ Motion for Clarification and/or Amendment of the Judgment Order

 (“Motion to Amend”) following the bench trial ruling.

          By way of context, the Curtis court determined in its Findings of Fact and Conclusions of

 Law (“Findings and Conclusions”) following the bench trial that: (1) each of the Cap Letters

 (negotiated in 1993, 1996 and 2001) was enforceable (*43-52, ¶¶ 238-75); (2) the plaintiffs’

 retirement benefits vested at retirement subject to the enforceable cap agreements (*37-43,



 4
  The Court further erroneously determined that Alcoa’s attorney “made this comment in reference to the written
 CBA between Alcoa and the Union,” quoting another point in the oral argument where the attorney said that “[w]e
 are forced to return to the written . . . deal. Alcoa is living up to that deal. Alcoa . . . will [pay healthcare benefits]
 for the rest of these people’s lives.” Order at 10 (omissions in original) (quoting Summ. J. Tr. at 72:19-22, Curtis,
 ECF No. 379). But Alcoa’s attorney did not say the “written deal” required it to provide lifetime benefits. Summ. J.
 Tr. at 72, Curtis, ECF No. 379 (emphasis added). Moreover, context shows that the “deal” mentioned by Alcoa’s
 attorney was not an unidentified “written CBA” that would apply to the Class Members here—it was the 1993 Cap
 Agreement and the related negotiations. Summ. J. Tr. at 58:23-59:4, Curtis, ECF No. 379. Even if Alcoa’s
 attorney was referring to a “written CBA,” it would have been the CBAs at issue in Curtis—the 1993, 1996, and
 2001 CBAs—which do not apply to the pre-1993 Class Members in this case.
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 ¶¶ 211-37); and (3) Alcoa had properly implemented the Cap Agreement (*37-43, ¶¶ 211-37).

 See Curtis, 2011 WL 850410. The court held that “Alcoa did not breach its contracts with the

 plaintiffs,” id. at *55, and ordered that “the plaintiffs shall take nothing” and dismissed the case

 with prejudice, see Judgment Order, Curtis, ECF No. 524.

        A few weeks later, the plaintiffs filed a Motion to Amend pursuant to Fed. R. Civ. P.

 59(a). Curtis, ECF No. 525. Essentially, the plaintiffs argued that the court’s judgment that they

 “take nothing” was inconsistent with its conclusion that the retirees had vested benefits. The

 plaintiffs claimed that this amounted to a victory for them and asked the court to issue a separate

 declaratory judgment that the retirees’ healthcare benefits were “vested” and for related

 injunctive relief. Proposed Order, Curtis, ECF No. 525-1. In addition, the plaintiffs

 concurrently filed a Motion for Award of Attorneys’ Fees and Expenses (“Motion for Attorneys’

 Fees”) in which they argued that they “achieved some success on the merits of the case” entitling

 them to attorneys’ fees because vesting “was a disputed issue.” Mot. for Attorneys’ Fees at 1,

 Curtis, ECF No. 527.

        Alcoa opposed the plaintiffs’ Motion to Amend as “a transparent attempt to obtain

 attorney’s fees” “after failing to secure any tangible victory for [the class].” Alcoa’s Opp. to

 Pls.’ Mot. to Amend at 1, Curtis, ECF No. 532. As Alcoa explained, “[t]he purpose of the

 lawsuit was to secure health benefits for the class beyond” the capped benefits they were already

 receiving, which is why the plaintiffs never sought a declaration that their benefits were “vested”

 only—they always sought a declaration that benefits were vested and uncapped. Id. at 1, 7-8

 (emphasis added). While the court had indeed rejected Alcoa’s position that the retirees’

 healthcare benefits were not vested, there was no basis to amend the judgment to include a

 freestanding declaration on that issue alone. As Alcoa explained, there is no requirement “that


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 every legal conclusion in a court’s opinion be included in the court’s order,” nor was there “any

 evidence that even suggests that Alcoa has any intention, or has taken any action, to terminate

 Plaintiffs’ [capped] benefits.” Id. at 9; 9 n.3. That made the plaintiffs’ request for a separate

 declaratory judgment that the retirees’ healthcare benefits were vested unnecessary and unripe at

 that time. See Cent. States, Se. & Sw. Areas Health & Welfare Fund v. AIG, Inc., 840 F.3d 448,

 451-52 (7th Cir. 2016). Such a declaration would have been an advisory opinion unrelated to the

 only concrete dispute between the parties, i.e., the Cap.

         In that vein, Alcoa’s Opposition to the Motion to Amend stated that “[e]ven before [the

 Curtis] Court’s ruling, Alcoa was committed to providing benefits to members of the plaintiff

 class at the 2006 cap level; as such, a formal order that those benefits are vested would provide

 members of the class with nothing more than what Alcoa has agreed to give them.” Id. at 2.

 Here, the Court misconstrued this language as “represent[ing] that retiree health benefits were

 guaranteed for life.” Order at 10 (emphasis added). Again, however, the most reasonable

 reading of this language is that Alcoa stated that it intended to continue to voluntarily provide

 benefits at the capped level for the rest of the Curtis retirees’ lives. 5 Nothing in the record shows

 that the court or the plaintiffs interpreted these statements as an admission by Alcoa that benefits

 are vested or otherwise contractually guaranteed. And in any event, Alcoa’s words could not

 have been such an admission because the court had already concluded in its bench trial ruling

 (directly contrary to Alcoa’s submissions) that those retirees’ healthcare benefits were vested

 based on the language of the contracts (as explained below). Thus, by that time, whether

 benefits were vested had become a moot point.



 5
  Indeed, as noted above, Alcoa has not modified the benefits of the Curtis retirees, including because the Cap
 Agreement makes those benefits subject to mandatory bargaining. See supra at 19.

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        For these reasons, the Court erred when it held that Alcoa took a “clearly inconsistent”

 position between this case and Curtis so as to trigger judicial estoppel. Hook, 195 F.3d at 306.

        C.      Alcoa did not persuade the Curtis court that benefits are vested.

        For judicial estoppel to be warranted, it is not enough for a party to take a “clearly

 inconsistent” position between two cases—the party must have “succeeded in persuading a court

 to accept that party’s earlier position, so that judicial acceptance of an inconsistent position in a

 later proceeding would create the perception that either the first or second court was misled.”

 Walton, 643 F.3d at 1002. “What matters . . . is whether, in reaching its earlier decision, the

 court relied on the representation of the one against whom estoppel is asserted.” In re Airadigm

 Comms., Inc., 616 F.3d 642, 662 (7th Cir. 2010) (emphasis added); see also Astor, 910 F.2d at

 1547 (“The principle is that if you prevail in Suit #1 by representing that A is true, you are stuck

 with A in all later litigation growing out of the same events.”) (emphasis added).

        The Court held that this factor supported judicial estoppel here because Alcoa’s purported

 “representations . . . persuaded the Curtis court” that benefits are vested. Order at 11. But this is

 without merit. To be sure, the Curtis court concluded that the Curtis retirees’ benefits vested

 upon their retirement. But the court’s conclusion was based on its interpretation of the language

 in the CBAs and summary plan descriptions (“SPDs”) that applied to the post-1993 retirees,

 applying then-binding Sixth Circuit precedent (the “Yard-Man inference”) that placed a heavy

 “thumb on the scale in favor of vested retiree benefits in all [CBAs],” M&G Polymers USA,

 LLC v. Tackett, 574 U.S. 427, 428 (2015):

        The CBAs linked eligibility for retiree health benefits to eligibility for a pension.
        The retiree health benefits provided by the CBAs included benefits to a surviving
        spouse, and a Medicare Supplement plan. The SPDs provided that retirees would
        receive retiree health benefits on the first day of their retirement and they would
        last until the death of the retiree.


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        Since retirees are eligible to receive pension benefits for life, the act of tying retiree
        health benefits to pension eligibility indicates that the parties intended that the
        company provide lifetime health benefits as well. In determining vesting, the
        question is not whether or not there is a cap—benefits can still be vested at a capped
        level—but whether whatever benefit levels which were promised by the healthcare
        plan were promised to last past the expiration of a particular CBA. Yard-Man, 716
        F.2d at 1479. The language of the CBAs and SPDs show that plaintiffs’ health
        benefits are lifetime benefits. Further proof that plaintiffs’ health benefits are
        vested is promises for benefits after Medicare eligibility and Medicare premium
        reimbursements, which would be illusory if the benefits were not vested.
        Accordingly, the court finds that plantiffs[’] health benefits vested at time of their
        retirement, subject to the cap.

 Curtis, 2011 WL 850410, at ¶¶ 236-37, *43 (emphasis added). Given the court’s express

 reliance on the (now overruled) Yard-Man inference, it is likely that if it decided Curtis today, it

 would agree with Alcoa that the CBAs and SPDs do not vest benefits. Regardless, Alcoa’s

 failure to persuade the court on this point was ultimately immaterial to the judgment in Curtis

 because the court determined that even if the post-1993 retirees vested in healthcare benefits

 upon retirement, they vested in the capped benefits, not the uncapped benefits they were seeking.

        In short, the Curtis court’s vesting analysis never cited, referenced, or relied on any of

 Alcoa’s purported statements focused on by this Court. Nor did the court ever suggest that it

 viewed Alcoa as taking the position that benefits were vested (indeed, the court would not have

 even needed to look to any documents for evidence of vesting if Alcoa took such a position).

        The Court’s contrary conclusion that Alcoa “persuaded” the Curtis court that benefits

 were vested rested on clear errors. The Court mistakenly believed that the Curtis court had

 relied on the statement by Alcoa’s attorney that “‘[w]e are forced to return to the written . . .

 deal. Alcoa is living up to that deal. Alcoa . . . will [pay healthcare benefits] for the rest of these

 people’s lives.’” Order at 11 (omissions in original) (quoting Curtis, 2011 WL 850410, at *55;

 Summ. J. Tr. at 72:19-22, Curtis, ECF No. 379). In reality, this statement by Alcoa’s attorney

 was not cited or referenced in the court’s vesting analysis, and was not even made at the bench

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 trial at all—it was made over one year prior at the summary judgment hearing. 6 There is no

 reasonable basis to simply assume that the Curtis court relied on (let alone remembered) isolated

 statements by Alcoa’s attorney at a different hearing one year before. 7

          The Court also erred when it cited Alcoa’s brief in opposition to the plaintiffs’ Motion to

 Amend the judgment, remarking that Alcoa apparently “took” the judgment “as a victory when it

 explained that ‘[t]he Court agreed with Alcoa—that Plaintiffs’ benefits had vested ‘subject to the

 cap.’” Order at 11 (quoting Alcoa’s Opp. to Pls.’ Mot. to Amend in Curtis, ECF No. 132-27 at

 7). As explained above, however, even though the Curtis court agreed with Alcoa that if benefits

 are vested they had vested at retirement subject to the Cap Agreement, Alcoa never took the

 position or argued that benefits are vested—it did the opposite. See supra at 13-16. And Alcoa

 took the judgment as a victory because it was a victory; the dispute in Curtis was over the

 legality of the Cap, and the court upheld it.

          The Court also relied on the denial of the plaintiffs’ Motion to Amend, claiming that the

 Curtis court “acceded to Alcoa’s argument that no specific declaration that post-1993 retirees

 had lifetime healthcare benefits was necessary because such a declaration would be duplicative

 of Alcoa’s contractual promises.” Order at 11. In actuality, the Curtis court denied the Motion

 to Amend on entirely different grounds—that the plaintiffs had brought suit challenging the Cap,

 and had failed—without mentioning any of the purported statements by Alcoa relied on by this

 Court. See Memorandum and Order, Curtis, ECF No. 541. The language in Alcoa’s opposition


 6
  The Court evidently confused the August 2008 summary judgment hearing with the late 2009 bench trial,
 mistakenly stating that Alcoa’s statements at the summary judgment hearing were made at the bench trial. See
 Order at 3-4 (“After the Curtis court denied summary judgment, the case proceed to an eight-day bench trial where
 Alcoa explained it ‘will [pay healthcare benefits] for the rest of these people’s lives.’” (quoting Summ. J. Tr. at 72,
 Curtis, ECF No. 379)); see also Curtis, 2011 WL 850410, at *1 (bench trial dates).
 7
  The same reasoning also dispels the notion that the Curtis court relied on Alcoa’s other purported vesting
 arguments focused on by this Court, such as statements in Alcoa’s opposition to the plaintiffs’ motion for
 preliminary injunction filed in May 2007. See Alcoa’s Prelim. Inj. Opp., Curtis, ECF No. 64; supra at 16-19.
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 brief could not have “persuaded” the Curtis court to find that benefits were vested because the

 court had already so found based on the applicable CBAs and SPDs, which the denial of the

 Motion to Amend did nothing to change. And any suggestion that Alcoa “persuaded” the court

 to deny the Motion to Amend, by purportedly acquiescing in that earlier finding, ignores the

 much simpler basis of Alcoa’s opposition to that motion and of the court’s order denying it: i.e.,

 the failure of plaintiffs’ challenge to the Cap meant that the capped benefits they were

 “receiving” were “lawful,” and so there was simply no entitlement to any “relief” because Alcoa

 was not doing anything wrong. Curtis ECF No. 541 at 5.

          Finally, the Court also erroneously relied on the Sixth Circuit’s opinion affirming the

 Curtis bench trial ruling, in which the Sixth Circuit “remarked off-hand that ‘[u]nder the parties’

 1988 CBA that expired in 1992, [Alcoa] provided lifetime, uncapped retiree healthcare

 benefits.’” Order at 12 (quoting Curtis v. Alcoa, Inc., 525 F. App’x 371, 373 (6th Cir. 2013)).

 The Court inferred from this language that “based on Alcoa’s representations that it agreed with

 the Curtis plaintiffs’ position on the length of benefits, it was simply unquestioned that pre-1993

 retirees had lifetime healthcare benefits.” Id. But this conclusion does not follow because the

 Sixth Circuit never said anything about the basis for its remark or even provided a citation. It is

 impossible to determine exactly what the Sixth Circuit was relying on, but it is far more plausible

 that it was relying on the lower court’s vesting conclusion, which, as explained, was based on the

 language of the contracts over Alcoa’s objections, not Alcoa’s purported “representations.”

          Accordingly, the Court erred when it held that Alcoa persuaded the Curtis court that

 benefits are vested. 8



 8
  Notably, the Court used this erroneous finding as the basis to disregard Alcoa’s clear position in Curtis that
 benefits are not vested. See Order at 13 (“Because it was Alcoa’s argument that retirees had lifetime, capped
 healthcare benefits that persuaded the Curtis court, judicial estoppel locks Alcoa into that position.”). Because the
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         D.       Alcoa would not derive an unfair advantage if it were not judicially estopped,
                  nor would Plaintiffs incur an unfair detriment.

         The next judicial estoppel factor applied by the Court was “whether the party seeking to

 assert an inconsistent position would derive an unfair advantage or impose an unfair detriment on

 the opposing party if not estopped.” Walton, 643 F.3d at 1002. The Court’s analysis of this

 factor was short and conclusory, finding that “Alcoa would quite clearly gain an unfair

 advantage by taking the position that pre-1993 retirees do not have lifetime healthcare benefits,

 which is inconsistent with a position ‘successfully taken in the past.’” Order at 12 (quoting

 Massuda v. Panda Exp., Inc., 759 F.3d 779, 783 (7th Cir. 2014)).

         The Court failed to appreciate that Alcoa did not prevail in Curtis on its purported

 position that benefits are vested. The plaintiffs ultimately took nothing because the court held

 that the Cap Letters were enforceable, the plaintiffs’ benefits did not vest before retirement and

 therefore were subject to the enforceable Cap Agreement, and Alcoa had properly implemented

 the Cap Agreement. Curtis, 2011 WL 850410, at *37-52, ¶¶ 211-75. As Alcoa repeatedly told

 the Curtis court, whether benefits actually vested at retirement was irrelevant to the plaintiffs’

 claims. Thus, because Alcoa prevailed in consideration of issues other than whether benefits

 vested at retirement, it is not “playing ‘fast and loose’ with the courts by prevailing twice on

 opposing theories.” Airadigm, 616 F.3d at 661. A determination that Alcoa is not judicially

 estopped would therefore not result in an unfair advantage to Alcoa.

         Nor would the Plaintiffs incur an “unfair determent” if Alcoa is not estopped. Walton,

 643 F.3d at 1002. The Court did not address this factor in its analysis, but there is nothing to

 suggest it would be unfair for Plaintiffs to have to litigate over whether the Class Members have



 Curtis court’s determination on vesting was not based on any of the purported statements by Alcoa focused on by
 this Court, this conclusion is also without merit.
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 vested retiree healthcare benefits. Plaintiffs could not have reasonably believed that Alcoa

 would not oppose their lawsuit to challenge the transition to the HRA Plan for the Class

 Members. See In re Knight-Celotex, LLC, 695 F.3d 714, 724 (7th Cir. 2012) (refusing to invoke

 judicial estoppel, and finding that the party arguing estoppel “could not have reasonably believed

 that [the party to be estopped] intended to abandon so casually” his claims and the related

 “millions of dollars,” and that therefore the “prospect” that the party would have to litigate

 against the claims was not an “unfair detriment”). Plaintiffs are free (subject to the rules

 governing extrinsic evidence) to try to use Alcoa’s prior statements in Curtis to argue that it

 believes that benefits are vested, as they did in their summary-judgment briefing. But to estop

 Alcoa from even making its argument about vesting, based on its prior statements about different

 retirees in a case that it won on independent grounds, is not to relieve Plaintiffs of an unfair

 detriment but to grant them an unearned windfall.

        E.      The Court’s judicial estoppel analysis further erred in other key ways.

        Finally, the Court’s conclusion that judicial estoppel is warranted also relied on two

 additional points that are without merit.

        First, the Court faulted Alcoa for not doing more to challenge the Curtis court’s vesting

 decision. The Court held that it was “[e]qually important” to its analysis that “Alcoa abandoned

 its argument that retirees did not have lifetime healthcare benefits” because Alcoa did not seek

 reconsideration of the Curtis court’s conclusion that the capped benefits were vested, nor cross

 appeal or raise that issue in its appellate response brief. Order at 14. The Court further noted

 that after the Sixth Circuit affirmed the district court, “Alcoa did not cross-petition for a writ of

 certiorari” to the Supreme Court “or seek en banc review of that determination.” Id. at 15.




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        As an initial matter, the Court failed to appreciate that “you can’t appeal from a judgment

 entirely in your favor.” Byron v. Clay, 867 F.2d 1049, 1050 (7th Cir. 1989); see also United

 States v. Accra Pac, Inc., 173 F.3d 630, 632 (7th Cir. 1999) (“[A] litigant may not appeal from

 unfavorable statements in a judicial opinion, if the judgment was favorable.”); Luna v. United

 States, 454 F.3d 631, 635 (7th Cir. 2006) (“Parties in litigation may suffer setbacks along the

 road to favorable judgments. Appeals are taken to reverse judgments, not intermediate

 setbacks.”). The Curtis court’s judgment dismissed the plaintiffs’ case entirely in Alcoa’s favor,

 thus preventing Alcoa from taking a cross appeal under well-settled, black-letter law.

        In addition, the Seventh Circuit has rejected the notion that a party’s failure to object to a

 ruling warrants judicial estoppel. In Allison v. Ticor Title Insurance Co., a group of unit owners

 of a vacation resort lost their property interests when they failed to object to a bankruptcy court’s

 order approving an agreement for the purchase and sale of the resort. 979 F.2d 1187, 1192 (7th

 Cir. 1992). The unit holders sued their title insurer for coverage over the loss of their property

 interests. The insurer argued that because the unit holders failed to object to the bankruptcy

 court’s order, judicial estoppel applied and prevented them from challenging the agreement for

 the purchase and sale of the resort. See id. at 1193. The Seventh Circuit rejected this argument,

 declaring that “the sole fact that [the unit holders] failed to object to” the agreement did not mean

 they took an “inconsistent position[]” when they later argued that they were not bound by the

 agreement. See id. at 1194. The Seventh Circuit also pointed out that the unit holders “certainly

 did not prevail in bankruptcy court because of” their failure to object to the agreement. Id.

        Applying Allison here, the “fact that [Alcoa] failed to object to” the Curtis court’s finding

 that the post-1993 retirees had vested benefits does not mean that Alcoa took an “inconsistent

 position” in the two cases or otherwise warrant judicial estoppel. See id. Moreover, as


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 explained, Alcoa “certainly did not prevail [in Curtis] because of” the court’s finding that the

 post-1993 retirees had vested benefits. See id.

        Second, the Court held that “[t]he complexity of the interpretive question posed to this

 court and the Curtis court also weighs in favor of applying judicial estoppel.” Order at 12. The

 Court remarked that “[t]he Curtis court was tasked with sifting through decades of continuous

 bargaining between the Unions and Alcoa” and that “[t]he parties submitted around 9,382 pages”

 of trial exhibits. Id. at 12. The Court noted that “Alcoa was also the only entity with any

 experience at the bargaining table,” and held that “allowing Alcoa to reverse its position would

 give the impression that Alcoa hoodwinked the Curtis court instead of assisting it in sifting

 through the voluminous record and lengthy bargaining history.” Id. at 12-13.

        This conclusion was in error. Defendants are not aware of any authority establishing a

 rule that judicial estoppel is warranted based on the “complexity” of a case, such as the number

 of trial exhibits or the span of the collective bargaining history at issue. Id. at 12. In re Airadigm

 Communications, Inc., 616 F.3d 642 (7th Cir. 2010), which the Court invoked, does not stand for

 the general proposition that judicial estoppel is warranted if the prior court was faced with a

 complex contract interpretation question. The comments in Airadigm focused on by the Court

 were dicta confined to the unique circumstances of that case, where the bankruptcy court

 wrestled with trying to ascertain the impact of recent Supreme Court precedent on its prior

 rulings. See 616 F.3d at 647-50, 659-63. Such circumstances are inapplicable here.

        More fundamentally, there simply is no basis for a concern that Alcoa “hoodwinked” the

 Curtis court so as to warrant judicial estoppel. Order at 13. Again, Curtis was about whether the

 post-1993 retirees were entitled to receive uncapped benefits; Alcoa argued that they were not,

 either because their benefits were entirely unvested, or because even if the benefits were vested,


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 they had vested subject to the Cap. The court agreed with the second theory and accordingly

 entered judgment for Alcoa. Although the underlying facts were complex, the bottom line was

 straightforward—the Cap was legal, and the class was not entitled to any relief. And the court

 never once suggested that it thought Alcoa took the position that benefits are vested, or that any

 of its rulings were based on such an impression.

        In sum, for the foregoing reasons, there is a reasonable likelihood that the Seventh Circuit

 will reverse the Court’s Order granting summary judgment for Plaintiffs on the basis of judicial

 estoppel. Respectfully, rather than apply judicial estoppel “with caution and in the narrowest of

 circumstances,” the Court did the opposite. Eli Lilly, 2011 WL 573761 at *4.

                                          CONCLUSION

        Defendants respectfully request that the Court grant their Motion to Stay and stay the

 injunction pending Defendants’ appeal.


 DATED: April 11, 2025                              Respectfully submitted,


                                                     /s/ Thomas Birsic

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                                 CERTIFICATE OF SERVICE

         I hereby certify that, on April 11, 2025, a copy of the foregoing was filed electronically.
 Service of this filing will be made on all ECF-registered counsel by operation of the court’s
 electronic filing system. Parties may access this filing through the court’s system.

                                               /s/ Thomas Birsic
                                                 Thomas Birsic
